Case 0:08-cr-60149-JIC Document 131 Entered on FLSD Docket 10/27/2008 Page 1 of 6
Case 0:08-cr-60149-JIC Document 131 Entered on FLSD Docket 10/27/2008 Page 2 of 6
Case 0:08-cr-60149-JIC Document 131 Entered on FLSD Docket 10/27/2008 Page 3 of 6
Case 0:08-cr-60149-JIC Document 131 Entered on FLSD Docket 10/27/2008 Page 4 of 6
Case 0:08-cr-60149-JIC Document 131 Entered on FLSD Docket 10/27/2008 Page 5 of 6
Case 0:08-cr-60149-JIC Document 131 Entered on FLSD Docket 10/27/2008 Page 6 of 6
